Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 1 of 31
                                                                                 1


    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                               MIAMI DIVISION
                           CASE NO. 08-20574-CRIMINAL-LENARD
    3

    4    UNITED STATES OF AMERICA,                Miami, Florida

    5                      Plaintiff,             September 21, 2010

    6                vs.                          2:28 p.m. to 5:02 p.m.

    7    RALPH MERRILL,

    8                   Defendant.          Pages 1 to 31
         ______________________________________________________________
    9

   10
             EXCERPTED TESTIMONY OF ALBERT MICHAEL WIESNER FROM THE
   11         JURY TRIAL HELD BEFORE THE HONORABLE JOAN A. LENARD,
                          UNITED STATES DISTRICT JUDGE
   12

   13
         APPEARANCES:
   14

   15    FOR THE GOVERNMENT:            ELOISA FERNANDEZ, ESQ.,
                                        ADAM SCHWARTZ, ESQ., and
   16                                   FRANK TAMEN, ESQ.
                                        ASSISTANT UNITED STATES ATTORNEYS
   17                                   99 Northeast Fourth Street
                                        Miami, Florida 33132
   18

   19    FOR THE DEFENDANT:             PETER STIRBA, ESQ., and
                                        NATHAN A. CRANE, ESQ.
   20                                   STIRBA & ASSOCIATES
                                        215 South State Street, Suite 750
   21                                   Salt Lake City, Utah 84111

   22
         REPORTED BY:                   LISA EDWARDS, CRR, RMR
   23                                   Official Court Reporter
                                        400 North Miami Avenue
   24                                   Twelfth Floor
                                        Miami, Florida 33128
   25                                   (305) 523-5499
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 2 of 31
                                                                                 2


    1                              I N D E X

    2

    3                                              Direct    Cross     Red.

    4

    5    WITNESSES FOR THE GOVERNMENT:

    6    Albert Michael Wiesner                       3

    7

    8
         EXHIBITS RECEIVED IN EVIDENCE:                            PAGE
    9
         Government's Exhibit    Nos.   43.1 through 43.8            14
   10    Government's Exhibit    Nos.   43.5-A through 43.8-A        18
         Government's Exhibit    Nos.   44.1 through 44.6            19
   11    Government's Exhibit    Nos.   45.5-A & 44.6-A              20
         Government's Exhibit    Nos.   45.1 through 45.12,
   12      excluding 45.10                                           21
         Government's Exhibit    Nos. 45.5-A & 45.7-A                23
   13    Government's Exhibit    Nos. 46.1 through 46.13,
           excluding 46.10                                           25
   14    Government's Exhibit    Nos. 46.6-A, 46.11-A &
           46.13-A                                                   25
   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 3 of 31
                         Wiesner - DIRECT - By Mr. Schwartz                      3


    1                 MR. SCHWARTZ:    Your Honor, the United States calls

    2    Special Agent Albert Wiesner.

    3            ALBERT MICHAEL WIESNER, GOVERNMENT WITNESS, SWORN

    4                 THE COURT REPORTER:    You may be seated.

    5                 Please state your full name and spell your last name

    6    for the record.

    7                 THE WITNESS:    Albert Michael Wiesner, W-i-e-s-n-e-r.

    8                                DIRECT EXAMINATION

    9    BY MR. SCHWARTZ:

   10    Q.   Good afternoon.

   11         Sir, where do you work?

   12    A.   I work for the major procurement fraud unit, US Army

   13    Criminal Investigation Command.

   14    Q.   And what is US Army Criminal Investigation Command?

   15    A.   It's the Army's entity that conducts felonious criminal

   16    investigations.

   17    Q.   Now -- if you could, speak up a little bit.

   18    A.   Sure.

   19    Q.   You mentioned the major procurement fraud unit.

   20         What is that unit and what do you investigate in that unit?

   21    A.   The major procurement fraud unit is a sub-entity of the

   22    US Army Criminal Investigation Command which conducts fraud

   23    investigations related to contracts associated with the

   24    US Army.

   25    Q.   And are you a special agent?
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 4 of 31
                         Wiesner - DIRECT - By Mr. Schwartz                      4


    1    A.   I am.

    2    Q.   Special Agent Wiesner, where are you currently stationed?

    3    A.   Colorado Springs, Colorado.

    4    Q.   Back in January of 2008, where were you stationed?

    5    A.   Bagram Air Base, Afghanistan.

    6    Q.   Now, what sort of training did you go through to become a

    7    special agent with the fraud group that you work with?

    8    A.   I attended a multitude of different training throughout my

    9    seven-year career with the major procurement fraud unit.           Prior

   10    to the Army, I worked with the Air Force Office of Special

   11    Investigations for eight years, where I completed again basic

   12    and advanced investigative courses.

   13    Q.   So how many years of investigative training or experience

   14    do you have?

   15    A.   15 years.

   16    Q.   Now, let's talk about your time in Afghanistan.

   17         When did you first arrive?

   18    A.   December, 2007.

   19    Q.   What were your duties and responsibilities at Bagram Air

   20    Force Base in Afghanistan?

   21    A.   I was assigned as a special agent in charge for the

   22    Afghanistan fraud detachment, responsible for the entire

   23    country of Afghanistan.

   24    Q.   How many agents did you have with you?

   25    A.   One other agent.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 5 of 31
                         Wiesner - DIRECT - By Mr. Schwartz                      5


    1    Q.   For the entire country of Afghanistan?

    2    A.   Yes, sir.

    3    Q.   And how long did you spend in Afghanistan?

    4    A.   Approximately ten months.

    5    Q.   At some point during your time in Afghanistan, did you

    6    become involved with an investigation into a company named AEY?

    7    A.   I did.

    8    Q.   How did that come about?

    9    A.   During my turnover with my predecessor, the previous

   10    special agent in charge, I was briefed on all ongoing

   11    investigations and was advised that there was a request for

   12    assistance from the Defense Criminal Investigative Service to

   13    complete there in Afghanistan.

   14    Q.   What was this request from the Defense Criminal

   15    Investigative Service?

   16    A.   The Defense Criminal Investigative Service requested that

   17    we collect ammunition from 22 Bunkers, a storage facility just

   18    east of Kabul.

   19    Q.   Now, what does 22 Bunkers -- what is it next to, if

   20    anything?

   21    A.   It's next to an Afghani training facility.

   22    Q.   Who operates 22 Bunkers?

   23    A.   The 22 Bunkers was operated by the Afghanis, but the

   24    US military did provide some logistical and management support.

   25    Q.   For US personnel, was there limited access to 22 Bunkers?
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 6 of 31
                         Wiesner - DIRECT - By Mr. Schwartz                      6


    1    A.   Yes.   According to what I was told, the -- we could only

    2    visit during daylight hours.

    3    Q.   Why is that?

    4    A.   Due to the threat environment in Afghanistan at the time

    5    and traveling to 22 Bunkers via ground convoy.

    6    Q.   Now, this request that you learned about:         When was that

    7    request originally, I guess, sent to -- to the Army -- CID?            Is

    8    that what you're referred to as usually?

    9    A.   Yes, sir.

   10    Q.   What was that?

   11    A.   The end of October, 2007.

   12    Q.   And when did you first learn about it?

   13    A.   The beginning of December.

   14    Q.   Do you know why it hadn't been completed at that time?

   15    A.   My predecessor was unable to complete it due to manpower

   16    and logistical issues.

   17    Q.   And upon your arrival in December, did you attempt to go to

   18    22 Bunkers to obtain samples?

   19    A.   Yes.   My predecessor and I attempted to coordinate travel

   20    to 22 Bunkers.    But it was not approved due to the current

   21    threat environment at the time.

   22    Q.   What do you mean by "the current threat environment," if

   23    you can speak about it generally?

   24    A.   The threat environment was highly elevated and there were,

   25    you know, obviously attacks by insurgents on US forces, which,
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 7 of 31
                         Wiesner - DIRECT - By Mr. Schwartz                      7


    1    you know, precluded us from traveling at the end of December.

    2    Q.   Now, Bagram Air Force Base in location to 22 Bunkers:           How

    3    far away are they?

    4    A.   Bagram is located approximately 50 miles north of Kabul.

    5    And probably another 15, 20 miles east is -- of Kabul is the

    6    22 Bunkers.

    7    Q.   And how does one travel to 22 Bunkers?

    8    A.   There are a variety of different methods.         But the ground

    9    convoy is the method that's utilized by the US Government.

   10    Travel to and from Kabul was either via air -- you know,

   11    aircraft or ground convoy.

   12    Q.   Now, did there come a time when you did go to 22 Bunkers?

   13    A.   Yes, sir.

   14    Q.   And when was that?

   15    A.   We initially traveled from Bagram Air Base via aircraft to

   16    Kabul International Airport on the 4th of January, 2008.

   17    Q.   Who, if anyone, did you travel with?

   18    A.   I traveled with Special Agent Kevin Park.

   19    Q.   And once you arrived at Kabul airport, what did you do

   20    next?

   21    A.   It was a Friday, which is the Sabbath for the Muslim

   22    community.    We awaited transportation with an FBI convoy

   23    until -- we arrived around 7:30 in the morning and we left

   24    around 12:30 in the afternoon.

   25    Q.   Are there any requirements as to certain gear, equipment,
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 8 of 31
                         Wiesner - DIRECT - By Mr. Schwartz                      8


    1    you must wear for this trip?

    2    A.   Yes.   We were required to wear a full body armor, helmets

    3    and have all of our weapons with us.

    4    Q.   What kind of weapons are we talking about here?

    5    A.   An M-16 -- a short M-16, pistol, and, again, all of our

    6    body armor.

    7    Q.   And once you rendezvoused with the FBI, where did you go?

    8    A.   We traveled from the Kabul International Airport to the

    9    US Army Corps of Engineer compound, normally referred to as the

   10    Koala House, just in Downtown Kabul itself.

   11    Q.   How long was that trip?

   12    A.   Probably 15 to 20 minutes.

   13    Q.   What was the trip like?

   14    A.   Intense.    Again, due to the threat environment in

   15    Afghanistan, travel to and throughout the country by ground

   16    convoy was extremely dangerous.

   17    Q.   So you eventually arrived at the Koala House.

   18         Did you attempt to go to 22 Bunkers that day?

   19    A.   No.    We had scheduled meetings with the Government

   20    entity -- military entity that was supervising 22 Bunkers, and

   21    we traveled to Camp Eggers to meet with them that afternoon,

   22    met with the warrant officer who was in charge -- or who had

   23    been identified as the convoy commander that was going to

   24    transport us to 22 Bunkers.

   25    Q.   Now, the following day, did you go to 22 Bunkers?
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 9 of 31
                         Wiesner - DIRECT - By Mr. Schwartz                      9


    1    A.   Yes, we did.

    2    Q.   And how big was your convoy?

    3    A.   We had two armored vehicles.       I think there were a total of

    4    eight to ten people.

    5    Q.   Can you describe the 22 Bunkers facility and what -- the

    6    general layout to the jury.

    7    A.   It's a hilly complex, several acres.        There are some older

    8    Afghani bunkers which aren't utilized for storage due to their

    9    fragile state.

   10         And then there are Sea-Land containers, the ones that you

   11    normally see on ships and trucks, you know, that are metal

   12    containers.    Those were the contains where the ammunition was

   13    being stored.

   14    Q.   When you say "Sea-Land containers," are you referring to

   15    the type of containers you see at the Port of Miami?

   16    A.   Yes.

   17    Q.   Now, when you arrived, were you able to locate ammunition

   18    that came from AEY?

   19    A.   When we first arrived, we wanted to get a layout of, you

   20    know, the actual -- how the containers were stacked, lined up.

   21    So we kind of spoke to the warrant officer in charge, who

   22    identified that -- you know, which containers contained AEY

   23    ammunition.    And we identified a process for which we were

   24    going to collect the ammunition.

   25    Q.   Now, let's talk about the process that you devised.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 10 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    10


     1         What was your collection methodology?

     2   A.    We identified -- we knew we only had a certain amount of

     3   time and we wanted to see the containers and see what they

     4   actually looked like.

     5         So we looked at the containers, looked at how they were

     6   all -- you know, there was no real -- they were numbered, but

     7   not in a numerical sequence.       You know, for example, A-1 was

     8   not next to A-2.     They were just wherever they were.

     9   Q.    And these are the Sea-Land containers.        Right?

   10    A.    Yes, sir.

   11    Q.    Okay.

   12    A.    So we went to one of the containers, you know, looked at

   13    the container itself, saw how it was -- how the pallets of

   14    ammunition were stored within the container.

   15          We decided that we were going to take a sketch of each of

   16    the containers identifying the specific number of pallets that

   17    were on the right- and left-hand side of the container, looking

   18    into the container.

   19          And then, you know, once we identified which pallets we

   20    were going to collect the ammunition from, those were further

   21    identified on the sketches.

   22          And the ammunition was collected from the pallets and

   23    placed in brown manila envelopes, which were sealed with tape.

   24    And I placed my initials and date and time of collection on

   25    each and every one of the envelopes.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 11 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    11


     1   Q.     Was the pallets that you chose to take samples from -- was

     2   that chosen with any purpose or was that chosen randomly?

     3   A.     The pallets were chosen randomly.      In fact, the boxes from

     4   which the ammunition was, you know, collected were also random.

     5   We didn't always take from the top box.

     6          We took from boxes, you know, halfway into the pallet,

     7   where we cut into the pallet.        We had no idea, you know, what

     8   was in the pallet.      We just cut into the pallet and collected

     9   the ammunition.

   10    Q.     If we can take a step back, now, you're talking about these

   11    pallets.

   12           For the most part, could you describe the pallets that you

   13    saw.

   14    A.     The pallets were regular wooden pallets with 30 or 40 boxes

   15    on each pallet, cardboard boxes, approximately the size of a, I

   16    guess, soda box, a box of sodas.

   17           And then the pallets themselves -- the boxes were

   18    wrapped -- the entire pallet and boxes were wrapped in

   19    cellophane.

   20    Q.     Were there any papers or placards on the pallets?

   21    A.     There were no placards, but some of the boxes did have bond

   22    paper on the actual -- inside the cellophane itself.

   23    Q.     And did those sheets of bond paper refer to AEY?

   24    A.     Yes, they did.

   25    Q.     Now, when you looked at the Sea container and looked at the
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 12 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    12


     1   pallets inside, were some of the pallets opened already?

     2   A.    Yes.

     3   Q.    Did you take samples from some of those?

     4   A.    Yes.   There were open boxes as well as boxes that were

     5   just -- had no tops or just empty -- were full of ammunition,

     6   just rounds of ammunition tossed into the box itself.

     7   Q.    Now, Special Agent Wiesner, when you went through these

     8   cardboard boxes, did you see any ammunition data cards?

     9   A.    I did not see any.

   10    Q.    I'm showing you what's been entered into evidence as

   11    Government's Exhibit 42.22.

   12          Do you remember seeing any cardboard pieces like this?

   13    A.    I didn't see any inside of the sealed boxes.

   14    Q.    Now, how many containers again did you take samples from?

   15    A.    15.

   16    Q.    Was that every single container that --

   17    A.    No, it was not.

   18    Q.    And why did you stop at 15?

   19    A.    We ran out of time.     Ultimately -- we started around -- our

   20    collection around 10:00 a.m. and we stopped around 4:30 p.m.

   21    There was a dire need for us to leave the facility based on the

   22    threat environment once again, because travel back to Camp

   23    Eggers required approximately an hour.

   24    Q.    And all of these samples that you put in little manila

   25    envelopes, what did you do with them once you left 22 Bunkers
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 13 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    13


     1   and returned to, I guess -- was it the Koala House?

     2   A.    We placed them -- before leaving 22 Bunkers, we placed them

     3   in a metal ammunition box for ease -- you know, so that we

     4   could actually carry all -- I forget the actual number of

     5   manila envelopes.

     6   Q.    And what did you do with those items the following day?

     7   A.    The following day, we had some other investigative activity

     8   to conduct at Camp Eggers.       We secured the actual metal box

     9   with all the collected ammunition at the local military police

   10    detachment at Camp Eggers.

   11    Q.    Did you eventually send that ammunition back to the United

   12    States?

   13    A.    Yes, we did.

   14    Q.    How did you go about doing so?

   15    A.    We returned to Bagram Air Base on the 8th of January.           The

   16    container with all the ammunition was provided to the local CID

   17    detachment -- the military CID detachment.

   18          The evidence custodian took custody and mailed the

   19    container to the Defense Criminal Investigative Service office

   20    here in Ft. Lauderdale.

   21    Q.    And you took a number of pictures during this collection

   22    process.     Correct?

   23    A.    Yes.

   24                 MR. SCHWARTZ:   May I approach the witness, your Honor?

   25                 THE COURT:   Yes.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 14 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    14


     1                 Do you want to show it to Mr. Stirba, please.

     2                 MR. STIRBA:   Thank you.

     3   BY MR. SCHWARTZ:

     4   Q.    Special Agent Wiesner, I'm handing you Government's

     5   Exhibits 43.1 through 43.8.        Please examine those.

     6         Do you recognize those exhibits, sir?

     7   A.    I do.

     8   Q.    What are they?

     9   A.    These are the sketch related to Container B22, the

   10    photographs of the container, photographs of the pallets,

   11    photographs of the bond paper.

   12    Q.    And let me -- are these fair and accurate sketches and

   13    representations of how the ammunition appeared that day,

   14    January 5, 2008, at 22 Bunkers?

   15    A.    Yes.

   16                  MR. SCHWARTZ:    Your Honor, at this time the Government

   17    would offer 43-1 through 43-8 into evidence.

   18                  MR. CRANE:    No objection, Judge.

   19                  THE COURT:    They will believe admitted as Government's

   20    Exhibits 43.1 through 43.8.

   21                  (Whereupon, Government's Exhibit Nos. 43.1 through

   22    43.8 were entered into evidence.)

   23                  MR. SCHWARTZ:    May I publish, your Honor?

   24                  THE COURT:    You may.   How are you going to publish?

   25                  MR. SCHWARTZ:    Could I publish on the Government's
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 15 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    15


     1   computer as well as hand out the pictures?

     2                 THE COURT:   Sure.

     3   BY MR. SCHWARTZ:

     4   Q.    Let's first take a look at Government's Exhibit 43.2.

     5         Explain to the jury what we're looking at here.

     6   A.    We're looking at Container B22, the Sea-Land container.

     7   Q.    How can you tell it's B22?

     8   A.    Because the number is identified on the container itself.

     9   Q.    You can circle on the document, if you wish -- the screen.

   10    A.    Okay.

   11    Q.    There you go.

   12          What was the weather like that day?

   13    A.    Extremely cold and snowing.

   14    Q.    If we could go to 43.3, please.

   15          What are we looking at here?

   16    A.    This is the interior of the container with the pallets.

   17    Q.    And 43.4.

   18          What are we looking at here?

   19    A.    This is the top of one of the open -- or one of the pallets

   20    with open boxes and ammunition packets.

   21    Q.    Did you ultimately take samples from this -- this pallet?

   22    A.    I think the samples were taken from the two pallets that

   23    are identified on the sketch itself.

   24    Q.    Well, let's take a look at the sketch.

   25          Could we go to 43.1, please, the next exhibit.         Okay.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 16 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    16


     1         So what are we looking at here?       What is 43.1?

     2   A.    This is a sketch of the container from a top-down view with

     3   the pallets that were inside the container identified.            We came

     4   up with a simple numbering method so that we would know which

     5   pallets -- or how many pallets were inside the container and

     6   then which pallets we actually collected samples from.

     7         In this case, the samples were taken from L2, which

     8   identified the No. 2 pallet on the left side, and R7, top,

     9   which identified the -- the seventh pallet on the top, because

   10    on -- on some occasions, there were pallets that were on top

   11    of, you know, other pallets within the containers.

   12    Q.    Okay.    Now, Special Agent Wiesner, did you create similar

   13    sketches for every single Sea container that you took samples

   14    from that day?

   15    A.    Yes, we did.

   16    Q.    Now, if we could go to 43.5.

   17          What are we looking at here?

   18    A.    Those are the rounds of ammunition that were collected.

   19    Q.    And whose hand is that?

   20    A.    That's my hand.

   21    Q.    Okay.

   22                  MR. SCHWARTZ:   May I approach, your Honor?

   23                  THE COURT:   Yes.

   24    BY MR. SCHWARTZ:

   25    Q.    And I'm going to hand you, Special Agent Wiesner,
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 17 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    17


     1   Government's 43.5 -- what's been marked for identification as

     2   43.5-A and 43.8-A.

     3         Do you recognize those two exhibits?

     4   A.    I do.

     5   Q.    How do you recognize them?

     6   A.    I recognize these because these are the manila envelopes

     7   which were utilized to collect the evidence and --

     8   Q.    Did you remove the ammunition from those manila envelopes

     9   yourself?

   10    A.    I did.

   11    Q.    Now --

   12                  MR. SCHWARTZ:   Your Honor, at this time the Government

   13    would offer 43.5-A and 43.8-A into evidence.

   14                  MR. CRANE:   Judge, I just would object as to

   15    foundation.      I don't believe we know where those came from.        He

   16    just identified that he's seen them before.          We don't know

   17    where he saw them before.

   18                  MR. SCHWARTZ:   I'll ask the question.

   19                  THE COURT:   Okay.

   20    BY MR. SCHWARTZ:

   21    Q.    Where did you get them?

   22    A.    I got them from Container B22.       This specific -- 43.8-A

   23    came from B22, the R7 top pallet, and it has my initials and

   24    date and time of collection.

   25                  MR. SCHWARTZ:   Your Honor, we then offer 43.5-A and
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 18 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    18


     1   43.8-A into evidence.

     2              MR. CRANE:     No objection, Judge.

     3              THE COURT:     They will be admitted as Government's

     4   Exhibits 43.5-A and 43.8-A.

     5              (Whereupon, Government's Exhibit Nos. 43.5-A and

     6   43.8-A were entered into evidence.)

     7   BY MR. SCHWARTZ:

     8   Q.    Now, Special Agent Wiesner, we're looking at 43.5-A.

     9         Are those the same ammunition cartridges as you saw as

   10    they're in 43.5-A?

   11    A.    They appear to be.     Yes.

   12    Q.    And what kind of ammunition is that?

   13    A.    7.62 by 39.

   14               MR. SCHWARTZ:     May I publish the ammunition, your

   15    Honor?

   16               THE COURT:     Yes.

   17    BY MR. SCHWARTZ:

   18    Q.    Now, did you collect ammunition from a Container B21?

   19    A.    I believe we did.     Yes.

   20    Q.    I'm going to show you what's been marked for identification

   21    as Government's Exhibits 44.1 through 44.6.

   22          Do you recognize those documents?

   23    A.    Yes, I do.

   24    Q.    How do you recognize them?

   25    A.    I recognize them because they are the sketch of
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 19 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    19


     1   Container B21 and the photographs that were taken during the

     2   collection.

     3   Q.    Do they fairly and accurately depict Container B21 as it

     4   appeared on January 5th, 2008?

     5   A.    Yes.

     6                MR. SCHWARTZ:   May I publish, your Honor?

     7                THE COURT:   I think you have to move them into

     8   evidence first.

     9                MR. SCHWARTZ:   Oh.   Offer them into evidence, your

   10    Honor.

   11                 MR. CRANE:   No objection.

   12                 THE COURT:   They will be admitted as Government's

   13    Exhibits 44.1 through 44.6.

   14                 (Whereupon, Government's Exhibit Nos. 44.1 through

   15    44.6 were entered into evidence.)

   16                 THE COURT:   Now you may publish.

   17    BY MR. SCHWARTZ:

   18    Q.    Now, can we take a quick look at 44.1, please.

   19          Is this the same -- similar rough sketch -- recovery sketch

   20    that you did for the other container as well?

   21    A.    Yes, it is.

   22    Q.    And where did you take samples from in this container?

   23    A.    In this container, we took them from the first pallet on

   24    the right side and the eighth pallet on the left side.

   25    Q.    I'll hand you what's been marked for identification as
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 20 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    20


     1   44.5-A and -- 44.5-A and 44.6-A.

     2         Do you recognize these exhibits?

     3   A.    I do.

     4   Q.    How do you recognize them?

     5   A.    They contain the -- they're identified with my initials,

     6   date and time collection.        They identify the container and the

     7   actual pallet from which the samples were collected.

     8   Q.    And where did you collect them from?

     9   A.    These samples were collected from Container B21, the eighth

   10    pallet on the left side and the first pallet on the right side.

   11                  MR. SCHWARTZ:    Your Honor, at this time the Government

   12    would offer into evidence 44.5-A and 44.6-A.

   13                  MR. CRANE:   No objection, Judge.

   14                  THE COURT:   They will be admitted as Government's

   15    Exhibits 44.5-A and 44.6-A.

   16                  (Whereupon, Government's Exhibit Nos. 44.5-A and

   17    44.6-A were entered into evidence.)

   18                  MR. SCHWARTZ:    May I publish, your Honor?

   19                  THE COURT:   You may.

   20    BY MR. SCHWARTZ:

   21    Q.    Now, in the course of your recovery, did you also take

   22    samples from Container B27?

   23    A.    I believe we did.       Yes.

   24    Q.    And did you take pictures and do a sketch for that as well?

   25    A.    Yes, I did.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 21 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    21


     1   Q.    I'm going to hand you what's been marked for identification

     2   purposes as Government's Exhibit 45.1 through 45.12, excluding

     3   45.10.

     4         Do you recognize those documents?

     5   A.    I do.

     6   Q.    Are they pictures of Container B27?

     7   A.    Yes.

     8   Q.    And does it also include a sketch of Container B27?

     9   A.    Yes, it does.

   10    Q.    Do they fairly and accurately depict how the container

   11    appeared on January 5th, 2008?

   12    A.    Yes.

   13                  MR. SCHWARTZ:   Your Honor, at this time we'd offer

   14    45.1 through 45.12, excluding 45.10.

   15                  MR. CRANE:   No objection.

   16                  THE COURT:   They will be admitted as Government's

   17    Exhibits 45.1 through 45.12, excluding 45.10.

   18                  (Whereupon, Government's Exhibit Nos. 45.1 through

   19    45.12, excluding 45.10, were entered into evidence.)

   20                  MR. SCHWARTZ:   May I publish, your Honor?

   21                  THE COURT:   You may.

   22    BY MR. SCHWARTZ:

   23    Q.    Could we go to Government's Exhibit 45.3.

   24          What are we looking at here?

   25    A.    That's the interior of the container.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 22 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    22


     1   Q.    I'm circling something in the back.

     2         What is that?

     3   A.    That's a pallet that's fallen apart.

     4   Q.    And could we go to 45.4, please.

     5              MR. CRANE:    Judge, I apologize.      Our screens went

     6   blank.    There we go.    Thank you.

     7              THE COURT:    Okay.

     8   BY MR. SCHWARTZ:

     9   Q.    Now, we're looking at 45.4.

   10          What are we looking at here?

   11    A.    That's the -- looking from the top of the pallet down.

   12    Q.    And I'm circling here a sheet of paper.

   13          Could we zoom in on that, please.

   14          What does that sheet of paper indicate?

   15    A.    It identifies the contractor and contract number from where

   16    the ammunition was received.

   17    Q.    And who is the contractor listed?

   18    A.    AEY, Inc.

   19    Q.    And did you see similar sheets like this on other pallets

   20    during your recovery that day?

   21    A.    Yes, I did.

   22    Q.    Could we -- I'm going to show you what's been marked for

   23    identification as Government's 45.5-A and 45.7-A.

   24          Now, these two exhibits that have been marked for

   25    identification:     Do you recognize them?
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 23 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    23


     1   A.    Yes, I do.

     2   Q.    How do you recognize them?

     3   A.    The manila envelopes have my initials and date and location

     4   from where the samples were collected.

     5   Q.    And did you -- where did you collect those samples from?

     6   A.    These were collected from Container B27, the fifth pallet

     7   on the left, and it looks like the right pallet on the -- or

     8   the eighth pallet on the right side.         I'd have to refer to the

     9   diagram.

   10          It is the eighth pallet on the right side.

   11    Q.    And are they in the same or substantially same condition as

   12    they appeared that day of recovery, January 5th, 2008?

   13    A.    Yes.

   14                 MR. SCHWARTZ:   Your Honor, we'd offer Government's

   15    45.5-A and 45.7-A at this time.

   16                 MR. CRANE:   No objection.

   17                 THE COURT:   They will be admitted as Government's

   18    Exhibits 45.5-A and 45.7-A.

   19                 (Whereupon, Government's Exhibit Nos. 45.5-A and

   20    45.7-A were entered into evidence.)

   21    BY MR. SCHWARTZ:

   22    Q.    Now, I just want to publish one more picture with respect

   23    to this container.

   24          Could we look at Government's Exhibit 45.12, please.

   25          Now, what are we looking at here?
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 24 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    24


     1   A.     This is one of the -- I believe it's the side of the box --

     2   or the side of the pallet looking into one of the boxes.            The

     3   box had been torn and rounds were, you know, easily accessible.

     4   Q.     Now, can you determine the place of manufacture through any

     5   of the papers that we see here on this picture?          Could you

     6   personally?

     7   A.     No.

     8   Q.     Do you see any Chinese markings on any of these papers?

     9   A.     No, I do not.

   10    Q.     Now, did you also take samples from a container numbered

   11    B31?

   12    A.     I believe so.   Yes.

   13    Q.     I'm going to show you what's been marked for identification

   14    purposes as Government's 46.1 through 46.13, excluding 46.10.

   15           Do you recognize those documents, sir?

   16    A.     Yes, I do.

   17    Q.     Are they pictures and a sketch of Container B31?

   18    A.     Yes.

   19    Q.     And are they fair and accurate depictions of how it

   20    appeared on January 5th, 2008?

   21    A.     Yes.

   22                  MR. SCHWARTZ:   Your Honor, we'd offer Government's

   23    46.1 through 46.13, excluding 46.10, into evidence at this

   24    time.

   25                  MR. CRANE:   No objection.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 25 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    25


     1              THE COURT:    They will be admitted as Government's

     2   Exhibits 46.1 through 46.13, excluding 46.10.

     3              (Whereupon, Government's Exhibit Nos. 46.1 through

     4   46.13, excluding 46.10, were entered into evidence.)

     5   BY MR. SCHWARTZ:

     6   Q.    Now, Special Agent Wiesner, I'm going to show you what's

     7   been marked for identification as Government's 46.6-A and

     8   46.11-A and 46.13-A.

     9         Now, do you recognize these three exhibits?

   10    A.    Yes, I do.

   11    Q.    And did you recover these from Container B31 on

   12    January 5th, 2008?

   13    A.    Yes, I did.

   14    Q.    Are they in the same or substantially the same condition as

   15    they appeared that day?

   16    A.    Yes, they are.

   17               MR. SCHWARTZ:     Your Honor, at this time we'd offer

   18    Government's 46.6-A, 46.11-A and 46.13-A into evidence.

   19               MR. CRANE:    No objection, Judge.

   20               THE COURT:    They will be admitted as Government's

   21    Exhibits 46.6-A, 46.11-A and 46.13-A.

   22               (Whereupon, Government's Exhibit Nos. 46.6-A, 46.11-A

   23    and 46.13-A were entered into evidence.)

   24               MR. SCHWARTZ:     May I publish, your Honor?

   25               THE COURT:    You may.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 26 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    26


     1   BY MR. SCHWARTZ:

     2   Q.    If we could bring up on the computer Government's 46.7,

     3   please.

     4         Now, is this a photograph of one of the pallets from

     5   Container B31?

     6                 MR. CRANE:   Judge, I don't believe that's been

     7   admitted yet and I think it's being published.

     8                 THE COURT:   46.7?   Yes, it has.

     9                 Is that the exhibit you have on the screen?

   10                  MR. CRANE:   I'm sorry.   I thought he put up 47.      I

   11    apologize.

   12                  THE COURT:   Is this 46.7?

   13                  MR. SCHWARTZ:   Yes, your Honor.

   14                  THE COURT:   Okay.

   15    BY MR. SCHWARTZ:

   16    Q.    What are we looking at here in 46.7?

   17    A.    One of the pallets in the containers as I described before,

   18    typical wooden pallet with cardboard boxes and the boxes

   19    themselves were wrapped in cellophane and then some retention

   20    straps and a piece of bond paper attached to the pallet.

   21    Q.    And could we zoom in on that piece of bond paper, please.

   22          Does the piece of bond paper list what type of ammunition

   23    is in that pallet?

   24    A.    I don't see that on there.

   25    Q.    Okay.    I'll circle it.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 27 of 31
                          Wiesner - DIRECT - By Mr. Schwartz                    27


     1         Can you read this, what I just circled?

     2   A.    I'm sorry.

     3         Yes.   It's a little bit blurry, but it's 7.62 by 3

     4   millimeter ball ammo.

     5   Q.    And does it list the contractor?

     6   A.    Yes, it does.    AEY, Inc.

     7   Q.    Now, if we could go to 46.8.

     8         What are we looking at here?

     9   A.    This is one of the -- each and every one of the cardboard

   10    boxes contained a number -- I don't recall how many -- of these

   11    little butcher paper-wrapped bundles of ammunition.

   12    Q.    From this butcher paper that you -- that we're looking at

   13    here, was there any sign of where this ammunition was

   14    manufactured or came from?

   15    A.    No.

   16    Q.    Did you also take samples from a container labeled B33?

   17    A.    I believe so.

   18                 THE COURT:   Mr. Schwartz, we're going to end here for

   19    the day.

   20                 MR. SCHWARTZ:   Okay.

   21                 THE COURT:   Counsel, please approach for one moment on

   22    a scheduling issue.

   23                 (Whereupon, the following proceedings were had at

   24    side-bar outside the presence of the jury:)

   25                 THE COURT:   Are you going forward with your expert
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 28 of 31
                                                                                28


     1   witness tomorrow morning?

     2              MR. SCHWARTZ:     Yes, your Honor.

     3              We just wanted to clarify -- because I know your Honor

     4   already ruled on the motion to exclude his testimony -- what

     5   specific area we would want of his testimony before his

     6   testimony before the jury.

     7              THE COURT:    We'll have to address the issues that are

     8   brought up in the motion to -- Mr. Merrill's motion concerning

     9   the -- that he's entitled --

   10               MR. SCHWARTZ:     I think it's the PowerPoint

   11    presentation.

   12               THE COURT:    The PowerPoint presentation, but it talks

   13    about qualifications.      Basically, it's a Daubert motion

   14    contained within that motion.

   15               So do you have him available?

   16               MR. SCHWARTZ:     Yes, your Honor.

   17               THE COURT:    So, then, I'll tell the jurors they have

   18    the day off --

   19               MR. STIRBA:     They're here, your Honor.      They'll be

   20    prepared to testify.

   21               THE COURT:    How long do you expect the testimony to

   22    be?

   23               MR. SCHWARTZ:     Very brief, your Honor.

   24               MR. STIRBA:     I would expect the same.

   25               THE COURT:    Okay.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 29 of 31
                                                                                29


     1               (Whereupon, the following proceedings were had in open

     2   court:)

     3               THE COURT:   All right, ladies and gentlemen.        I'm

     4   going to dismiss you for the day.

     5               If you haven't finished looking at the exhibits, we

     6   will have them available for you when you come back.

     7               Actually, you're not going to be coming back tomorrow.

     8   Since tomorrow is going to be only a half a day -- there are

     9   some issues that I need to take up with the lawyers outside of

   10    your presence -- so I decided that you should have the day off

   11    and we should work.

   12                So you won't be required to come here.        You are free

   13    to go to your work or do whatever you need to accomplish in

   14    your week.

   15                You're going to be coming Thursday morning at 9:00.

   16    That will also -- since I have a court meeting in the

   17    afternoon, we will end around noon -- between 12:00 and

   18    12:15 for the day on Thursday.

   19                Do not discuss this case either amongst yourselves or

   20    with anyone else.      Have no contact whatsoever with anyone

   21    associated with the trial.       Do not read, listen or see anything

   22    touching on this matter in any way.

   23                If anyone should try to talk to you about this case,

   24    you should immediately instruct them to stop and report it to

   25    my staff.
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 30 of 31
                                                                                30


     1              If you would, give your notebooks to the court

     2   security officer.

     3              There are a few of you that have asked for letters for

     4   your employers.     Patricia will give them to you in the jury

     5   room.

     6              Enjoy your day away from all of us tomorrow.          I'll see

     7   you Thursday morning, 9:00.

     8              (Whereupon, the jury exited the courtroom at 5:00 p.m.

     9   and the following proceedings were had:)

   10               THE COURT:    You may be seated.

   11               You may step down, sir.

   12               (Witness excused.)

   13               THE COURT:    So we're in recess until -- let's start

   14    tomorrow at 9:30.      And I know you all told me it's going to be

   15    very short, but I've heard that before from lawyers.

   16               So I have -- I can give you until approximately 11:45.

   17    I think I have calendar call tomorrow at 11:45.           So I have one

   18    or two matters to take up on calendar call.

   19               So I'll see you tomorrow morning, 9:30.         Have a nice

   20    evening.

   21               MS. FERNANDEZ:     Thank you, your Honor.

   22               (End of requested excerpt.)

   23

   24

   25
Case 1:08-cr-20574-JAL Document 938 Entered on FLSD Docket 10/27/2010 Page 31 of 31
                                                                                31


     1

     2                            C E R T I F I C A T E

     3

     4               I hereby certify that the foregoing is an accurate

     5   transcription of the proceedings in the above-entitled matter.

     6

     7

     8   ____________            /s/Lisa Edwards_____
             DATE                LISA EDWARDS, CRR, RMR
     9                           Official United States Court Reporter
                                 400 North Miami Avenue, Twelfth Floor
   10                            Miami, Florida 33128
                                 (305) 523-5499
   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
